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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WASHINGTON

  UNITED STATES OF AMERICA,                               Case No. 1:16-CR-2085-SMJ

                                     Plaintiff,           CRIMINAL MINUTES

              vs.                                         DATE: 01/11/2017 LOCATION: Yakima

  JENNIER JOYCE DOUGLAS,                                  PRETRIAL CONFERENCE/
                                                          MOTION HEARING
                                   Defendant.


                                              Judge Salvador Mendoza, Jr.
 Debbie Brasel                                                                         Lynette Walters

 Courtroom Deputy                     Law Clerk                 Interpreter            Court Reporter

 Meghan M. McCalla                                            Kenneth D. Therrien

 Plaintiff's Counsel                                          Defendant’s Counsel

[XX] Open Court

Defendant present in custody of the US Marshal

Mr. Therrien moves Court to Continue the Current Trial Date of February 13, 2017 [ECF No. 27]

Response by Mr. McCalla; USA has no objection to this continuance

Defendant advises Court she has no objection to the continuance of the current trial date in this matter

Court:         Defendant’s Motion to Continue [ECF No. 27] is granted. Court excludes all time from speedy trial
               calculations from the date the motion was filed by the defendant to new date of trial. Current trial date
               of 02/13/2017 is stricken and reset for 08/07/2017 at 9:00 am in Yakima; Pretrial Conference is reset
               for 07/12/2017 at 10:00 am in Yakima.

Statement of Reasons in Support of the Motion to Continue Trial is executed by the defendant and filed with the Court


[XX] ORDER FORTHCOMING




  CONVENED: 10:05 AM            ADJOURNED: 10:13 AM            TIME:    / 08 MINUTES
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